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              FILED SEPARATELY SHEET

                    Civil Docket No. RDB-06-2411



    FILED SEPARATELY

              Answer

              Answer and attachment(s)

              Attachment(s)

              Exhibit(s)

              Motion: [Name of Motion]

              Sealed

              Transcript of Proceedings before the Court on [Transcript Date]

              Transcript of Proceedings before SSA

              Deposition of [Name Deposed Person] taken on [Date of Deposition]

          X   Other- REDACTED SECOND AMENDED COMPLAINT




                                                              NO. 36
